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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       Case No. 18CR3071-WQH
11                       Plaintiff,                  ORDER ON JOINT MOTION
                                                     FOR DEPOSIT OF FUNDS WITH
12          v.                                       U.S. MARSHAL
13   GANNON GIGUIERE (1),
14                       Defendant.
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17         The Parties have filed a Joint Motion agreeing to the Defendant’s deposit of
18 $46,000.00 in lieu of forfeiture of the (a) Diamond Necklace with Flower Design,
19 (b) Pair of Diamond Earrings with Flower Design, (c) Gold Bangle Bracelet, and
20 (d) Pair of Gold Hoop Earrings (collectively, the “Jewelry”) seized from Defendant.
21 Having reviewed the foregoing Joint Motion and good cause appearing therefor,
22         IT IS HEREBY ORDERED, ADJUDGED and DECREED:
23         The Joint Motion (ECF No. 113) is approved.
24         1.    Defendant has offered to pay the United States $46,000.00 (the “Funds”)
25 in exchange for the return of the Jewelry otherwise subject to forfeiture pursuant to
26 the Superseding Indictment.
27         2.    Plaintiff and Defendant have agreed to substitute the Funds as if it were
28 the Jewelry subject to the forfeiture allegations of the indictment in this criminal case.
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 1 The Funds shall be held in the custody of the Department of Justice Seized Assets
 2 Deposit Fund pending further order of the United States District Court.
 3         3.    The validity and priority of any other claims to the Funds filed pursuant
 4 to Title 21, United States Code, Section 853(n) will be determined at an ancillary
 5 proceeding, contingent upon and following a judgment in the criminal case and the
 6 Court’s entry of an order of forfeiture in favor of the United States.
 7         4.    The rights of Plaintiff and Defendant are hereby reserved against the
 8 Funds as if they were the property subject to forfeiture.
 9         IT IS SO ORDERED.
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11 Dated: May 17, 2019
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